   Case 2:21-cv-05361-MAA Document 9 Filed 10/25/21 Page 1 of 1 Page ID #:27

                                    UNITED STATES DISTRICT COURT
                                   CENTRAL DISTRICT OF CALIFORNIA

                                AMENDED CIVIL MINUTES – GENERAL

Case No. 2:21-cv-05361 MAA                                                   Date: October 25, 2021
Title       Kevin Cox v. Evergrande Real Estate Group, LLC



Present:    The Honorable Maria A. Audero, United States Magistrate Judge


                   James Muñoz                                             N/A
                   Deputy Clerk                                   Court Reporter / Recorder

           Attorney Present for Plaintiff:                    Attorneys Present for Defendant:
                   Not present                                          Not present

Proceedings (In Chambers): ORDER TO SHOW CAUSE

        On July 1, 2021, Plaintiff Kevin Cox (“Plaintiff”) filed a complaint (ECF No. 1). The case
was assigned to Magistrate Judge Maria A. Audero. On the same day, upon Plaintiff’s request (ECF
No. 4), the Court Clerk issued a summons as to Defendant Evergrande Real Estate Group, LLC
(“Defendant”) (ECF No. 4). On August 26, 2021, the Court issued a Reminder Notice, reminding
the parties that if the case was to proceed before the Magistrate Judge to which it was assigned, the
parties were required to file consents to such assignment. (ECF No. 7.)

         To date, Plaintiff has failed to file any proof of service or request an extension of time in
which to do so. Accordingly, Plaintiff is ORDERED TO SHOW CAUSE no later than November
24, 2021 why this Court should not recommend that the action be dismissed with prejudice for
failure to prosecute. Plaintiff may discharge this Order by filing a proof of service.

        The parties are reminded that, for the above-entitled case to proceed with the assigned
Magistrate Judge, they must file and serve joint or separate Consent form(s), indicating whether each
party consents to have a Magistrate Judge assigned to this case. Plaintiff must file the Consent form
within forty-two (42) days after service of the summons and complaint upon the first-served
defendant. Each defendant must file the Consent form within forty-two (42) days after service of the
summons and complaint upon that defendant. If the United States, an agency of the United States, or
an officer or employee of the United States is a defendant, the government must file the Consent
form within sixty (60) days after service of summons and complaint upon each defendant. If one or
both parties fails to consent to the case proceeding before the assigned Magistrate Judge within the
prescribed time, the case automatically will be re-assigned.

        It is so ordered.


CV-90 (03/15)                           Civil Minutes – General                               Page 1 of 1
